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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                           CIVIL ACTION

VERSUS                                                          NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                        SECTION: “I”(5)

                      ORDER SCHEDULING STATUS CONFERENCE

       A telephone status conference to set a briefing schedule and discuss the parameters

of an evidentiary hearing on the City’s Motion for Relief from Court Orders (rec. doc. 1281)

in the above matter is hereby SCHEDULED for July 10, 2020 at 11:00 a.m. The Court will

provide counsel with instructions that will enable them to participate in the conference.

       New Orleans, Louisiana, this 7th    day of        July          , 2020.




                                                         MICHAEL B. NORTH
                                                    UNITED STATES MAGISTRATE JUDGE
